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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:18-CR-00054-DAD-BAM
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                          AND ORDER
14   TAURI DOLORES VALERA,                              DATE: May 11, 2020
                                                        TIME: 1:00 p.m.
15                               Defendants.            COURT: Hon. Barbara A. McAuliffe
16

17          This case is set for status conference on May 11, 2020, 2020. On April 17, 2020, this Court

18 issued General Order 617, which suspends all jury trials in the Eastern District of California scheduled

19 to commence before June 15, 2020, and allows district judges to continue all criminal matters to a date

20 after June 1. This and previous General Orders were entered to address public health concerns related to
21 COVID-19.

22          Although the General Orders address the district-wide health concern, the Supreme Court has

23 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

24 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

25 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

26 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at
27 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

28 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

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 1 or in writing”).

 2          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 3 and inexcusable—General Orders 611, 612, and 617 require specific supplementation. Ends-of-justice

 4 continuances are excludable only if “the judge granted such continuance on the basis of his findings that

 5 the ends of justice served by taking such action outweigh the best interest of the public and the

 6 defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless

 7 “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that the

 8 ends of justice served by the granting of such continuance outweigh the best interests of the public and

 9 the defendant in a speedy trial.” Id.
10          The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

11 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

12 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

13 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

14 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

15 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

16 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

17 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

18 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

19          In light of the societal context created by the foregoing, this Court should consider the following

20 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-
21 justice exception, § 3161(h)(7) (Local Code T4). 1 If continued, this Court should designate a new date

22 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

23 pretrial continuance must be “specifically limited in time”).

24                                                 STIPULATION

25          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

26 through defendant’s counsel of record, hereby stipulate as follows:
27
            1
            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1          1.     By previous order, this matter was set for status on May 11, 2020.

 2          2.     By this stipulation, defendant now moves to continue the status conference until

 3 September 14, 2020, and to exclude time between May 11, 2020, and September 14, 2020, under Local

 4 Code T4.

 5          3.     The parties agree and stipulate, and request that the Court find the following:

 6                 a)      The government has represented that the discovery associated with this case

 7          includes investigative reports and photographs. All of this discovery has been either produced

 8          directly to counsel and/or made available for inspection and copying. Additionally, the parties

 9          have engaged in plea negotiations and the government has provided a plea agreement.

10                 b)      Counsel for defendant desires additional time to review discovery, conduct

11          investigation, and finalize plea negotiations.

12                 c)      Counsel for defendant believes that failure to grant the above-requested

13          continuance would deny him/her the reasonable time necessary for effective preparation, taking

14          into account the exercise of due diligence.

15                 d)      The government does not object to the continuance.

16                 e)      Based on the above-stated findings, the ends of justice served by continuing the

17          case as requested outweigh the interest of the public and the defendant in a trial within the

18          original date prescribed by the Speedy Trial Act.

19                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

20          et seq., within which trial must commence, the time period of May 11, 2020 to September 14,

21          2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

22          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

23          of the Court’s finding that the ends of justice served by taking such action outweigh the best

24          interest of the public and the defendant in a speedy trial.

25          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

26 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
27 must commence.

28 ///

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 1          IT IS SO STIPULATED.

 2

 3
      Dated: May 6, 2020                                MCGREGOR W. SCOTT
 4                                                      United States Attorney
 5
                                                        /s/ LAUREL J. MONTOYA
 6                                                      LAUREL J. MONTOYA
                                                        Assistant United States Attorney
 7

 8
      Dated: May 6, 2020                                /s/ JOHN MEYER
 9                                                      JOHN MEYER
10                                                      Counsel for Defendant
                                                        TAURI DOLORES VALERA.
11

12

13                                              ORDER

14          IT IS SO ORDERED that the Status Conference is continued from May 11, 2020 to September
15 14, 2020 at 1:00 PM before Magistrate Judge Barbara A. McAuliffe. Time is excluded pursuant to

16
     18 U.S.C.§ 3161(h)(7)(A), B(iv).
17
     IT IS SO ORDERED.
18

19      Dated:    May 7, 2020                            /s/ Barbara A. McAuliffe          _
                                                  UNITED STATES MAGISTRATE JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME         4
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